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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


   Case No. 1:18-cv-00879-WJM-MEH

   SYMBOLOGY INNOVATIONS LLC

                 Plaintiff,

   v.

   OTTER PRODUCTS, LLC

                 Defendant.



                                 STIPULATION OF DISMISSAL




          Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), it is hereby stipulated

   and agreed by the undersigned counsel for Plaintiff Symbology Innovations LLC

   (“Symbology”) and Defendant Otter Products, LLC (“OtterBox”, collectively with

   Symbology, “the Parties”) to dismiss all claims and counterclaims asserted in the above-

   captioned matter between the Parties. The Parties agree and further stipulate that the

   dismissal of Symbology’s asserted claims against OtterBox shall be with prejudice, and

   that the dismissal of OtterBox’s asserted counterclaims against Symbology shall be

   without prejudice. Each party to this Stipulation of Dismissal shall bear its own costs and

   attorneys’ fees.




   Stipulated and agreed to:

    s/ Jean G Vidal Font                           By: s/ James Beard
    Jean G. Vidal Font                             Garret Leach, P.C.
    USDC No. 227811                                Kirkland & Ellis LLP
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    Ferraiuoli LLC                                300 North LaSalle
    221 Plaza, 5th Floor                          Chicago, IL 60654
    221 Ponce de León Avenue                     Telephone: (312) 862-2000
    San Juan, PR 00917                            Facsimile: (312) 862-2200
    Telephone: (787) 766-7000                     Email: garret.leach@kirkland.com
    Facsimile: (787) 766-7001
    Email: jvidal@ferraiuoli.com                  James Beard
                                                  Kirkland & Ellis LLP
    Attorneys for Plaintiff                       555 California Street
    Symbology Innovations LLC                     San Francisco, California 94104
                                                  Telephone: (415) 439-1689
                                                  Facsimile: (415) 439-1500
                                                  Email: james.beard@kirkland.com

                                                  Counsel for Defendant
                                                  Otter Products LLC




                              CERTIFICATE OF CONFERRAL


         In accordance with D.C.COLO.LCivR 7.1(a), counsel for the Parties conferred on

   August 8, 2018, and agreed to the contents of this Stipulation.



                                                   s/ Jean G. Vidal Font
                                                   Jean G. Vidal Font
